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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

IN THE MATTER OF THE                        No. [Identified in Exhibit A]
GOVERNMENT’S OMNIBUS MOTION
TO WITHDRAW FORMER COUNSEL                  Hon. Virginia M. Kendall
                                            Chief Judge


                                         ORDER

      The UNITED STATES OF AMERICA by its attorney, ANDREW S.

BOUTROS, United States Attorney for the Northern District of Illinois, having filed

its Omnibus Motion to Withdraw Former Counsel, and having shown good cause in

support of its motion, it is hereby ORDERED that the government is granted leave

to withdraw the individuals identified in Exhibit A (“List of Former Government

Counsel and Related Matters”) as counsel for the United States in the matters

identified in Exhibit A to this Order.

                                         ENTER:




                                         Hon. Virginia M. Kendall
                                         Chief Judge

DATE: June 6, 2025
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Charles Mulaney         1:18-cr-00818
Charles Mulaney         1:18-cr-00818
Charles Mulaney         1:18-cr-00818
Charles Mulaney         1:18-cr-00818
Charles Mulaney         1:19-cr-00936
Charles Mulaney         1:20-cr-00422
Charles Mulaney         1:20-cr-00422
Charles Mulaney         1:20-cr-00513
Charles Mulaney         1:20-cr-00577
Charles Mulaney         1:20-cr-00577
Charles Mulaney         1:20-cr-00577
Charles Mulaney         1:20-cr-00800
Charles Mulaney         1:21-cr-00253
Charles Mulaney         1:21-cr-00497
Charles Mulaney         1:21-cr-00497
Charles Mulaney         1:21-cr-00497
Charles Mulaney         1:21-cr-00497
Charles Mulaney         1:21-cr-00497
Charles Mulaney         1:21-cr-00603
Charles Mulaney         1:21-cr-00603
Charles Mulaney         1:21-cr-00603
Charles Mulaney         1:21-cr-00605
Charles Mulaney         1:21-cr-00608
Charles Mulaney         1:22-cr-00174
Charles Mulaney         1:22-cr-00451
Charles Mulaney         1:22-cr-00591
Charles Mulaney         1:22-cr-00593
Charles Mulaney         1:22-cr-00664
Charles Mulaney         1:23-cr-00113
Charles Mulaney         1:23-cr-00113
Charles Mulaney         1:23-cr-00113
Charles Mulaney         1:23-cr-00113
Charles Mulaney         1:23-cr-00209
Charles Mulaney         1:23-cr-00237
Charles Mulaney         1:23-cr-00338
Charles Mulaney         1:23-cr-00339
Charles Mulaney         1:23-cr-00412
Charles Mulaney         1:23-cr-00412
Charles Mulaney         1:23-cr-00412
Charles Mulaney         1:23-cr-00412
Charles Mulaney         1:23-cr-00412
Charles Mulaney         1:23-cr-00643
Charles Mulaney         1:24-cr-00420
David Green             1:20-cr-00288
David Green             1:22-cr-00251

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David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00263
David Green              1:22-cr-00303
David Green              1:22-cr-00672
Elizabeth Pozolo         1:14-cr-00543
                         1:20-cr-00139
Elizabeth Pozolo         *SEALED*
Elizabeth Pozolo         1:22-cv-01727
Elizabeth Pozolo         1:23-cr-00377
Elizabeth Pozolo         1:23-cr-00455
Georgia Alexakis         1:08-cr-00746
Georgia Alexakis         1:08-cr-00746
Georgia Alexakis         1:09-cr-00383
Georgia Alexakis         1:09-cr-00383
Georgia Alexakis         1:09-cr-00383
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Georgia Alexakis         1:09-cr-00383
Georgia Alexakis         1:09-cr-00383
Georgia Alexakis         1:14-cr-00705
Georgia Alexakis         1:14-cr-00705
Georgia Alexakis         1:14-cr-00705
Georgia Alexakis         1:15-cr-00615
                         1:15-cr-00617
Georgia Alexakis         *SEALED*
Georgia Alexakis         1:15-cr-00618
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*

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                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
                         1:15-cr-00619
Georgia Alexakis         *SEALED*
Georgia Alexakis         1:16-cr-00394
Georgia Alexakis         1:18-cr-00185
Jeannice Appenteng       1:03-cr-01136
Jeannice Appenteng       1:03-cr-01136
Jeannice Appenteng       1:16-cr-00304
Jeannice Appenteng       1:23-cr-00352
Jeremy Daniel            1:07-cr-00722
Jeremy Daniel            1:12-cr-00356
Jeremy Daniel            1:18-cr-00517
Jeremy Daniel            1:18-cr-00517
Jeremy Daniel            1:19-cr-00052
Jeremy Daniel            1:19-cr-00052
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00226
Jeremy Daniel            1:19-cr-00753
Jeremy Daniel            1:22-cr-00611
Jeremy Daniel            1:97-cr-00642
John Lausch              1:00-cr-00068
John Lausch              1:00-cr-00176
John Lausch              1:00-cr-00993
John Lausch              1:01-cr-00494
John Lausch              1:01-cr-00494
John Lausch              1:01-cr-00494
John Lausch              1:02-cr-00298
Lela Johnson             1:02-cr-00210
Lela Johnson             1:02-cr-01192
Lela Johnson             1:04-cr-00646
Lela Johnson             1:09-cr-00911
Maureen McCurry          1:18-cr-00728

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Maureen McCurry         1:18-cr-00728
Maureen McCurry         1:18-cr-00728
Maureen McCurry         1:19-cr-00641
Maureen McCurry         1:19-cr-00641
Maureen McCurry         1:19-cr-00641
                        1:20-cr-00303
Maureen McCurry         *SEALED*
Maureen McCurry         1:20-cr-00675
Maureen McCurry         1:21-cr-00392
Maureen McCurry         1:21-cr-00392
Maureen McCurry         1:21-cr-00643
Maureen McCurry         1:22-cr-00097
Maureen McCurry         1:22-cr-00651
Maureen McCurry         1:22-cr-00651
Maureen McCurry         1:22-cr-00651
Maureen McCurry         1:23-cr-00083
Maureen McCurry         1:23-cr-00083
Maureen McCurry         1:23-cr-00083
Maureen McCurry         1:23-cr-00175
Maureen McCurry         1:23-cr-00377
Maureen McCurry         1:23-cr-00580
Maureen McCurry         1:23-cr-00580
Maureen McCurry         1:23-cr-00580
                        1:23-cr-00581
Maureen McCurry         *SEALED*
Maureen McCurry         1:23-cv-00330
Maureen McCurry         1:24-cr-00081
Maureen McCurry         1:24-cr-00081
Maureen McCurry         1:24-cr-00172
Maureen McCurry         1:24-cr-00323
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Maureen McCurry         1:24-cr-00471
Michael Beckman         3:21-cr-50034
                        3:21-cr-50046
Michael Beckman         *SEALED*
Michael Beckman         3:22-cr-50026
Michael Beckman         3:22-cr-50055
Michael Beckman         3:23-cr-50020
Michael Beckman         3:23-cr-50020
Misty Wright            1:16-cr-00307

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Misty Wright             1:16-cr-00394
Misty Wright             1:17-cr-00531
Misty Wright             1:18-cr-00681
                         1:18-cr-00693
Misty Wright             *SEALED*
Misty Wright             1:20-cr-00437
Misty Wright             1:21-cr-00221
Misty Wright             1:21-cr-00419
Misty Wright             1:22-cr-00065
Misty Wright             1:22-cv-04979
Misty Wright             1:23-cr-00140
Misty Wright             1:23-cr-00142
Misty Wright             1:23-cr-00410
Misty Wright             1:23-cr-00649
Misty Wright             1:24-cr-00243
Misty Wright             1:24-cr-00265
Misty Wright             1:24-cr-00337
Patrick King             1:03-cr-00090
Patrick King             1:03-cr-00444
Patrick King             1:04-cr-00200
Patrick King             1:08-cr-00196
Patrick King             1:08-cr-00196
Patrick King             1:09-cr-01040
Patrick King             1:10-cr-00874
Patrick King             1:11-cr-00751
Patrick King             1:19-cr-00582
Patrick King             1:20-cv-02870
Patrick King             1:22-cr-00394

Patrick King             1:22-cv-01684
Patrick King             1:92-cr-00208
Patrick King             1:92-cr-00632
Patrick King             1:96-cr-00291
Patrick King             1:96-cr-00291
Patrick King             1:96-cr-00291
Patrick King             1:96-cr-00291
Peter Flanagan           1:11-cr-00691
Peter Flanagan           1:12-cr-00356
Peter Flanagan           1:12-cr-00923
Peter Flanagan           1:12-cr-00924
Peter Flanagan           1:13-cr-00906
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539

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Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
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Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:14-cr-00539
Peter Flanagan           1:15-cr-00062
Peter Flanagan           1:15-cr-00063
Peter Flanagan           1:15-cr-00064
Peter Flanagan           1:16-cr-00462
                         1:18-cr-00745
Peter Flanagan           *SEALED*

Peter Flanagan           1:19-cv-08139
Peter Flanagan           1:21-cr-00277
Peter Flanagan           1:21-cr-00277
Peter Flanagan           1:21-cr-00277
Peter Flanagan           1:21-cr-00277
Peter Flanagan           1:21-cr-00486
Peter Flanagan           1:21-cr-00486
                         1:25-cr-00027
Peter Flanagan           *SEALED*
Philip Fluhr             1:16-cr-00668
Philip Fluhr             1:21-cr-00188
Philip Fluhr             1:21-cr-00486
Philip Fluhr             1:21-cr-00486
Philip Fluhr             1:22-cr-00110
Philip Fluhr             1:22-cr-00110
Philip Fluhr             1:22-cr-00275
Philip Fluhr             1:22-cr-00275
Philip Fluhr             1:22-cr-00275
Philip Fluhr             1:22-cr-00275
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Philip Fluhr             1:22-cr-00275
Philip Fluhr             1:22-cr-00275
Philip Fluhr             1:22-cv-07310

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Philip Fluhr             3:15-cr-50011
Scott Paccagnini         3:04-cr-50071
Scott Paccagnini         3:04-cr-50071
Scott Paccagnini         3:13-cr-50051
                         3:17-cr-50018
Scott Paccagnini         *SEALED*

Scott Paccagnini         3:18-cv-70002
Scott Paccagnini         3:19-cr-50029
Scott Paccagnini         3:21-cr-50023
Talia Bucci              3:04-cr-50054
Talia Bucci              3:14-cr-50007
Talia Bucci              3:14-cr-50042
Talia Bucci              3:16-cr-50030
Talia Bucci              3:22-cr-50061
Talia Bucci              3:23-cr-50005
Talia Bucci              3:23-cr-50008
Talia Bucci              3:23-cr-50018
Yusef Dale               1:03-cr-00090
Yusef Dale               1:04-cr-00459
Yusef Dale               1:04-cr-01072
Yusef Dale               1:04-cr-01072
Yusef Dale               1:04-cr-01072
Yusef Dale               1:04-cr-01072
Yusef Dale               1:09-cr-00383
Yusef Dale               1:09-cr-00383
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Yusef Dale               1:09-cr-00383
Yusef Dale               1:09-cr-00383
Yusef Dale               1:13-cr-00632
Yusef Dale               1:15-cr-00583
Yusef Dale               1:21-cr-00188
Yusef Dale               1:21-cr-00761
Yusef Dale               1:22-cr-00394
Yusef Dale               1:22-cr-00593
Yusef Dale               1:24-cr-00379




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